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                      UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION
                                     :
In re:                               :
                                     :
    Darren R. Barney                 : Case No.: 19-10110
    Tracey L. Howell-Barney fka      : Chapter 7
    Tracey L. Howell                 : Chief Judge Robert E. Grant
                                     : *********************
       Debtor.                       :


   MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
  PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES SURRENDER OF
  PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-DAY WAIVER
                        (FIRST MORTGAGE)

The creditor, The Bank of New York Mellon as Trustee for CWABS, Inc. Asset-Backed

Certificates, Series 2006-11, hereby moves the Court, pursuant to 11 U.S.C. § 362(d) and § 554,

to lift the automatic stay and abandon from the estate the following real property:

         11212 Knollton Run, Fort Wayne, IN 46818-8522, (hereinafter the "Property").

In support of the motion, the Creditor states the following:

       1.      Darren R. Barney and Tracey L. Howell-Barney fka Tracey L. Howell

(hereinafter collectively, ''Debtor'') filed a Chapter 7 case on January 31, 2019, (hereinafter the

"Petition Date").

       2.      As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

       3.      The above described Mortgage was given to secure an Adjustable Rate Note,

(hereinafter the "Note"), dated June 20, 2006 and made payable to the Creditor in the original

sum of $129,672.11. A copy of the Note is attached hereto as Exhibit "B".



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        4.       The Creditor perfected an interest in the Property, more particularly described in

the Mortgage, recorded in Allen County Recordings Office on June 28, 2006. Evidence of

perfection is attached as Exhibit "A".

        5.       The loan was modified as set forth in the Loan Modification Agreements attached

as Exhibit ''C'' and Exhibit ''D''.

        6.       Select Portfolio Servicing, Inc. services the loan on the property referenced in this

Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the

debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property, the

foreclosure will be conducted in the name of The Bank of New York Mellon as Trustee for

CWABS, Inc. Asset-Backed Certificates, Series 2006-11 "Noteholder." Noteholder, directly or

through an agent, has possession of the promissory note. The promissory note is either made

payable to Noteholder or has been duly endorsed. Noteholder is the original mortgagee or

beneficiary or the assignee of the security instrument for the referenced loan.

        7.       As of March 6, 2019, the outstanding principal of the Note was $230,794.75 and

the outstanding interest was $1,758.30. As of March 6, 2019, the approximate payoff of the loan

in question, consisting of the outstanding principal, interest, escrow advances, fees and costs is

$242,406.13.

        8.       The Property is burdensome and/or of inconsequential value and benefit to the

estate. Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

these reasons:

        a.       Debtor has no equity in the Property. Creditor believes that the Property has a
                 value of $175,000.00 based on Schedule D, which is attached hereto as Exhibit
                 "E". The balance on Creditor's first mortgage exceeds the value of the Property.
                 Based upon the lack of equity in the Property, Creditor asserts that the Property is
                 burdensome and/or of inconsequential value and benefit to the estate.



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       b.      The Creditor is not being adequately protected. Per the Note and Mortgage,
               payments are applied to the last month due. Based on the foregoing, Debtor has
               failed to make periodic payments to Creditor since February 1, 2019 through
               March 1, 2019.

       c.      Debtor intends to surrender the Property located at 11212 Knollton Run, Fort
               Wayne, IN 46818-8522 according to the Statement of Intent filed.

       9.      The Creditor hereby waives the right under 11 U.S.C. § 362(e) to a hearing on this

motion within thirty (30) days of the date it is filed. Creditor, by counsel, further prays that the

fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) be waived.

PLEASE TAKE NOTICE THAT any objection must be filed with the Bankruptcy Clerk

within fourteen (14) days of the date of this notice. Those not required or not permitted to file

electronically must deliver any objection by U.S. mail, courier, overnight/express mail or in

person at:

                                   Fort Wayne
                                   1300 South Harrison Street
                                   Room 1188
                                   Fort Wayne, IN 46802-3435

The objecting party must ensure delivery of the objection to the party filing the motion. If an

objection is NOT timely filed, the requested relief and abandonment may be granted.




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       WHEREFORE, the Creditor moves the Court to enter an order lifting the automatic stay

and abandoning the Property, and granting such other relief as appropriate.

                                                     Respectfully submitted,

                                                       /s/ Amy E. Gardner
                                                     Sarah E. Barngrover (28840-64)
                                                     Edward H. Cahill (0088985)
                                                     Adam B. Hall (0088234)
                                                     John R. Cummins (11532-10)
                                                     Amy E. Gardner (93532)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus, OH 43216-5028
                                                     614-220-5611; Fax: 614-627-8181
                                                     Attorney for Creditor
                                                     The case attorney for this file is Sarah E.
                                                     Barngrover.
                                                     Contact email is
                                                     sebarngrover@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on the parties listed below via e-mail notification:

   Nancy J. Gargula, 100 East Wayne Street, 5th Floor, South Bend, IN 46601-2349, 574-236-
   8105

   Martin E. Seifert, 444 East Main Street, Fort Wayne, IN 46802

   Dennis G Golden, Attorney for Darren R. Barney and Tracey L. Howell-Barney fka Tracey L.
   Howell, 822 Mill Lake Road, Fort Wayne, IN 46845, dgolden@goldenlaw.biz

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on all parties listed on the attached creditor matrix via regular U.S. Mail, postage prepaid on

       29 2019.
March ___,


                                                             /s/ Amy E. Gardner




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Label Matrix for local noticing   Case 19-10110-reg
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                                                                                                       Mobility
0755-1                                         PO Box 61047                                        PO Box 6416
Case 19-10110-reg                              Harrisburg, PA 17106-1047                           Carol Stream, IL 60197-6416
Northern District of Indiana
Fort Wayne Division
Fri Mar 29 07:33:20 EDT 2019
Accelcare                                      Allen County Treasurer                              Allen County Treasurer
PO Box 92878                                   1 East Main Street Suite 104                        1 East Main Street, Room 100
Dept 385                                       Fort Wayne IN 46802-1888                            Fort Wayne, IN 46802-1804
Rochester, NY 14692-8978


Allied Hospital Pathologist                    Allied Imaging                                      (p)AMERICOLLECT INC
4245 Reliable Parkway                          P.O. Box 11556                                      PO BOX 2080
Chicago, IL 60686-0042                         Fort Wayne, IN 46859-1556                           MANITOWOC WI 54221-2080



Americollect                                   Darren R. Barney                                    Sarah E. Barngrover
PO Box 1505                                    11212 Knollton Run                                  Manley Deas Kochalski LLC
Manitowoc, WI 54221-1505                       Fort Wayne, IN 46818-8522                           P.O. Box 165028
                                                                                                   Columbus, OH 43216-5028


Beckman Lawson, LLP                            Brian Heck                                          CBCS
201 West Wayne Street                          201 West Wayne St                                   P.O. Box 163333
Fort Wayne, IN 46802-3605                      Fort Wayne, IN 46802-3605                           Columbus, OH 43216-3333



Capital One Auto Finance                       Capital One Auto Finance, a division of Capi        Collection Service Bureau
a division of Capital One, N.A. Dept           4515 N Santa Fe Ave. Dept. APS                      PO Box 310
AIS Portfolio Services, LP                     Oklahoma City, OK 73118-7901                        Scottsdale, AZ 85252-0310
Account: XXXXXXXX0379
4515 N Santa Fe Ave, Dept. APS
Oklahoma City, OK 73118-7901
Collections Practice Group                     Day Knight & Associates                             Dermatology & Laser Associates
201 West Wayne Street                          15559 Manchester Road                               10602 Corporate Drive
Fort Wayne, IN 46802-3605                      Ballwin, MO 63011-3001                              Suite A
                                                                                                   Fort Wayne, IN 46845-1711


Diversified Collection Services, Inc.          Doyle & Foutty PC                                   Dupont Hospital
P.O. Box 9057                                  41 E. Washington Street                             15682 Collecions Center Drive
Pleasanton, CA 94566-9057                      Suite 400                                           Chicago, IL 60693-0156
                                               Indianapolis, IN 46204-3517


Dupont Hospital                                Ear, Nose, Throat Associates                        Education Loan Servicing
C/O Bank of America Processing Center          10021 Dupont Circle                                 1 CIT DR.
15682 Collections Center Drive                 Fort Wayne, IN 46825-1604                           Livingston, NJ 07039-5703
Chicago, IL 60693-0001


Edward Hospital                                Emergency Medicine of IN, LLC                       FBCS
PO Box 4207                                    P.O. Box 12617                                      330 S. Warminster Rd.
Carol Stream, IL 60197-4207                    Fort Wayne, IN 46864-2617                           Suite 353
                                                                                                   Hatboro, PA 19040-3433
FWRadiology                        Case 19-10110-reg      Doc 10
                                               Forefront Dermatology         Filed 03/29/19   PageFort
                                                                                                    7 of  8 Neurology
                                                                                                       Wayne
4819 Solutions Center                             801 York Street                                  P.O. Box 11789
Chicago, IL 60677-4008                            Manitowoc, WI 54220-4630                         Fort Wayne, IN 46860-1789



Fort Wayne Radiology                              Nancy J. Gargula                                 Dennis G. Golden
Lockbox A20                                       100 East Wayne Street, 5th Floor                 822 Mill Lake Road
PO Box 2601                                       South Bend, IN 46601-2349                        Fort Wayne, IN 46845-6400
Fort Wayne, IN 46801-2601


Great Lakes Higher Education                      Hanger Orthopedic Group Inc                      Tracey L. Howell-Barney
P.O. Box 7860                                     Cares Lockbox                                    11212 Knollton Run
Madison, WI 53707-7860                            62556 Collections Center Drive                   Fort Wayne, IN 46818-8522
                                                  Chicago, IL 60693-0625


(p)INDIANA DEPARTMENT OF REVENUE                  Indiana Employment Security Division             Indiana Physical Therapy
ATTN BANKRUPTCY                                   10 North Senate Street                           4251 Lahmeyer Road
100 N SENATE AVE                                  Indianapolis, IN 46204-2201                      Fort Wayne, IN 46815-5676
INDIANAPOLIS IN 46204-2253


Inquest Health System                             Law office of David W. Edwards                   Lincare Inc.
P.O. Box 8857                                     1410 Industrial Park Rd., Ste 101                PO Box 105760
Fort Wayne, IN 46898-8857                         PO Box 910                                       Atlanta, GA 30348-5760
                                                  Paris, TN 38242-0910


MSCB, Inc.                                        MedExpress Billing                               Medical & Dental Business Bureau
P.O. Box 1567                                     ATTN #7964C                                      333 E Washington Blvd
Paris, TN 38242-1567                              PO Box 14000                                     PO Box 11285
                                                  Belfast, ME 04915-4033                           Fort Wayne, IN 46857-1285


Medical Recovery Specialist, LLC                  Merchants Credit Guide                           Napervile Radiologist S.C.
2250 E Devon Avenue                               223 West Jackson Blvd., Suite 900                6910 S Madison Street
Suite 352                                         Chicago, IL 60606-6912                           Willowbrook, IL 60527-5577
Des Plaines, IL 60018-4519


North Shore Agency-ND4                            Oak Glen Community Association, Inc              Orthepaedics Northeast, PC.
PO Box 9205                                       429 E. Dupont Rd.                                5050 North Clinton St.
Old Bethpage, NY 11804-9005                       PMB 163                                          Fort Wayne, IN 46825-5886
                                                  Fort Wayne, IN 46825-2051


Orthopaedics NorthEast, PC                        Parkview Health                                  Premiere Credit of North America, LLC
P.O. Box 11782                                    PO Box 10416                                     P.O. Box 19309
Fort Wayne, IN 46860-1782                         Des Moines, IA 50306-0416                        Indianapolis, IN 46219-0309



Professional Account Services, Inc.               Professional Emergency Physicians                Professional Recovery Inc.
P.O. Box 188                                      3640 New Vision Drive, Suite A                   7319 West Jefferson Blvd.
Brentwood, TN 37024-0188                          Fort Wayne, IN 46845-1717                        Fort Wayne, IN 46804-6237
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                                                                                                            & Sauerteig LLP
15897 Collection Center Drive                        444 East Main Street                                 203 East Berry Street, Suite 1100
Chicago, IL 60693-0001                               Fort Wayne, IN 46802-1911                            Fort Wayne, IN 46802-2715



Statewide Credit Association                         (p)STUCKY LAUER & YOUNG LLP                          Summit Radiology, PC
P.O. Box 20508                                       127 W BERRY ST STE 900                               Lockbox A29
Indianapolis, IN 46220-0508                          FORT WAYNE IN 46802-2300                             PO Box 2603
                                                                                                          Fort Wayne, IN 46801-2603


Suntrust American Education Services                 The Bank of New York Mellon                          Thomas Law Firm, P.C.
PO Box 61047                                         300 N Meridian St # 910                              11623 Coldwater Road, Suite 104
Harrisburg, PA 17106-1047                            Indianapolis, IN 46204-1753                          Fort Wayne, IN 46845-1282



Thomas Law Firm, P.C.                                Tice Associates                                      (p)TICE ASSOCIATES INC
P.O. Box 80483                                       1261 Kenmore Ave.                                    PO BOX 646
Fort Wayne, IN 46898-0483                            Buffalo, NY 14217-2856                               BUFFALO NY 14217-0646



Wells Fargo Dealer Services                          X-OUT
P.O. Box 17900                                       95 Old Shoals Road
Denver, CO 80217-0900                                Dept. C
                                                     Arden, NC 28704-9401




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Americollect                                         Indiana Department of Revenue                        Stucky, Lauer & Young LLP
P.O. Box 1566                                        Bankruptcy Section - MS 108                          127 West Berry St
Manitowoc, WI 54221                                  100 North Senate Avenue, N240                        Suite 900
                                                     Indianapolis IN 46204                                Fort Wayne, IN 46802


Tice Associates Inc
1261 Kenmore Ave
Buffalo, NY 14217




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)The Bank of New York Mellon                       (u)Transworld Systems Inc.                           End of Label Matrix
                                                     500 Virginia Drive                                   Mailable recipients      73
                                                     Suite 514                                            Bypassed recipients       2
                                                     PA 19000                                             Total                    75
